Case: 1:17-md-02804-DAP Doc #: 1964-92 Filed: 07/23/19 1 of 19. PageID #: 166586




                               EXHIBIT 
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1964-92
                               SubjectFiled: 07/23/19 2Confidentiality
                                         to Further     of 19. PageID #: 166587
                                                                            Review

     1                     UNITED STATES DISTRICT COURT

     2                      NORTHERN DISTRICT OF OHIO

     3                            EASTERN DIVISION

     4

     5    -----------------------------) MDL No. 2804

     6    IN RE NATIONAL PRESCRIPTION          )

     7    OPIATE LITIGATION                    )

     8                                         ) Case No. 17-md-2804

     9    This document relates to:            )

    10    All Cases                            )

    11    -----------------------------) Hon. Dan A. Polster

    12

    13                          HIGHLY CONFIDENTIAL

    14            SUBJECT TO FURTHER CONFIDENTIALITY REVIEW

    15

    16                  The videotaped deposition of MARY WOODS,

    17    called for examination, taken pursuant to the Federal

    18    Rules of Civil Procedure of the United States District

    19    Courts pertaining to the taking of depositions, taken

    20    before JULIANA F. ZAJICEK, a Registered Professional

    21    Reporter and a Certified Shorthand Reporter, at Lieff

    22    Cabraser Heimann & Bernstein, 8th Floor, 250 Hudson

    23    Street, New York, New York, on January 10, 2019, at

    24    9:10 a.m.

   Golkow Litigation Services                                              Page 1
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1964-92
                               SubjectFiled: 07/23/19 3Confidentiality
                                         to Further     of 19. PageID #: 166588
                                                                            Review

     1    that had pended in the suspicious order monitoring

     2    system?

     3           A.     Well, so to the best of my recollection, I

     4    mean, that was a significant amount of their time

     5    during the day, because they were in that role all day

     6    long as orders would come in and pend and they would

     7    have to evaluate and review those orders and so that

     8    was a primary part of their role.

     9           Q.     We had talked about -- we had talked about

    10    this yesterday, and I just want to make sure I'm clear

    11    on the context of it.

    12                  The suspicious order monitoring system at

    13    Actavis and at Watson when you worked there as well,

    14    had -- it was applicable to all controlled substances,

    15    is that right?

    16           A.     That is correct.

    17           Q.     And I asked that because the case that we

    18    are talking about here relates to substances that were

    19    on Schedule II and at some point Schedule III of the

    20    suspicious -- or the Controlled Substances Act, but

    21    there are five total schedules, is that right?

    22           A.     That's correct.

    23           Q.     So when you talk about the --

    24           A.     The CSA law doesn't specify that you can

   Golkow Litigation Services                                             Page 20
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1964-92
                               SubjectFiled: 07/23/19 4Confidentiality
                                         to Further     of 19. PageID #: 166589
                                                                            Review

     1    exclude other drugs from suspicious order monitoring.

     2           Q.     Did you ever do an examination while you

     3    were at Actavis, Inc. or Watson of about how much the

     4    license master or customer master staff, how much of

     5    their time was spent working on Schedule II controlled

     6    substances that Watson or Actavis manufactured?

     7           A.     We -- we didn't separate out how much time

     8    was for C-IIs versus all of the controlleds because

     9    they all pended if it's -- you know, they are all

    10    under the Act, so we didn't separate out just opioids

    11    versus -- or C-IIs versus C-II through V.

    12           Q.     Do you remember whether there was ever a

    13    time when you worked at Actavis or Watson that the

    14    conditions for an order to pend were different for

    15    C-II drugs than they were for C-III through V?

    16           A.     Yes.

    17           Q.     All right.      And when was that?

    18           A.     So that was controlled by our controlled

    19    substance compliance team --

    20           Q.     Uh-huh.

    21           A.     -- and they could have made changes to

    22    that at any time they felt that there was the need to

    23    make that change, and they did that.             I can't recall

    24    the exact timeframe of that.           They were very diligent

   Golkow Litigation Services                                             Page 21
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1964-92
                               SubjectFiled: 07/23/19 5Confidentiality
                                         to Further     of 19. PageID #: 166590
                                                                            Review

     1    about making those changes.          I -- I don't want to give

     2    a timeframe because I -- I really don't know the exact

     3    timeframe, but it was reviewed frequently and they

     4    would make the changes as necessary.

     5           Q.     As you think of it, did that change take

     6    place while you were in New Jersey or in California?

     7           A.     It took -- it happened when I was in both

     8    locations.

     9           Q.     All right.      Did it happen -- well, I guess

    10    it did happen more than once then?

    11           A.     Yes.

    12           Q.     All right.      Do you remember about how many

    13    times it happened?

    14           A.     I can't recall the number of times it

    15    happened.

    16           Q.     So as you think of it, who would be the

    17    person most responsible for the issues that we're

    18    talking about now deciding the -- the level for which

    19    a order would pend on various schedules of the

    20    Controlled Substance Act?

    21           A.     I'm -- I'm sorry.        What do you mean by

    22    "issues"?

    23           Q.     Oh, so you had said that the controlled

    24    substance compliance team --

   Golkow Litigation Services                                             Page 22
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1964-92
                               SubjectFiled: 07/23/19 6Confidentiality
                                         to Further     of 19. PageID #: 166591
                                                                            Review

     1           A.     Uh-huh.

     2           Q.     -- at Actavis and Watson made changes to

     3    the level at which an order would pend on the

     4    suspicious order monitoring system depending on which

     5    schedule it was under the Controlled Substance Act?

     6           A.     Correct.

     7           Q.     So who would be most responsible for that

     8    issue?

     9           A.     For that activity?

    10           Q.     Yes.

    11           A.     So, the controlled substance compliance

    12    team would make a determination on how to -- you know,

    13    on what changes needed to be made, and it was the

    14    controlled substance compliance team that could go in

    15    and make those changes.

    16           Q.     And who on the team, as you think of it,

    17    was most responsible for that?

    18           A.     So, Tom Napoli at that -- at that time --

    19           Q.     Okay.

    20           A.     -- would be able to do that or -- and

    21    Tracey Hernandez's time when she was here, they would

    22    be able to make those changes.

    23           Q.     Okay.

    24           A.     Or give direction to make those changes.

   Golkow Litigation Services                                             Page 23
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1964-92
                               SubjectFiled: 07/23/19 7Confidentiality
                                         to Further     of 19. PageID #: 166592
                                                                            Review

     1           Q.     Do you remember the first time the --

     2    okay.

     3                  Do you remember the first time the level

     4    at which an order pended on the suspicious order

     5    monitoring system was modified based on the drug's

     6    placement on a -- a Controlled Substance Act schedule?

     7           A.     I -- I really couldn't remember the first

     8    time.

     9           Q.     All right.

    10                  All right.      So we are going to go through

    11    some documents, as we did yesterday.

    12           A.     Okay.

    13           Q.     Oh, so, all right.        You had mentioned

    14    earlier that there is a -- this order management

    15    group --

    16           A.     Uh-huh.

    17           Q.     -- as well, right?

    18           A.     Correct.

    19           Q.     And you had mentioned that -- the term

    20    "VMI"?

    21           A.     Vendor managed inventory.

    22           Q.     Yeah.

    23                  What does vendor managed inventory mean to

    24    you?

   Golkow Litigation Services                                             Page 24
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1964-92
                               SubjectFiled: 07/23/19 8Confidentiality
                                         to Further     of 19. PageID #: 166593
                                                                            Review

     1           A.     So, vendor managed inventory is a process

     2    in which you have the ability to work with a vendor to

     3    help them manage their inventory.            Most of the time

     4    you are using their systems.           In the case of Walmart,

     5    we used their systems and we helped to review their

     6    inventory with them and they would make us go into

     7    Retail Link and review their systems, make sure they

     8    didn't have outs and things like that.

     9           Q.     With regard to any -- any shipments or

    10    orders that were made through any VMI system at

    11    Actavis or Watson, do you know whether those orders

    12    would have been monitored by the suspicious order

    13    monitoring program at Actavis or Watson?

    14           A.     Every single order would have gone

    15    through --

    16           Q.     All right.

    17           A.     -- our system.

    18           Q.     All right.      I'm going to hand you what

    19    we'll mark as Exhibit 30 for this deposition.

    20                       (WHEREUPON, a certain document was

    21                         marked Allergan - Woods Deposition

    22                         Exhibit No. 30, for identification,

    23                         as of 01/10/2019.)

    24    BY MR. EGLER:

   Golkow Litigation Services                                             Page 25
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1964-92
                               SubjectFiled: 07/23/19 9Confidentiality
                                         to Further     of 19. PageID #: 166594
                                                                            Review

     1           Q.     Because of the physical setup, I'm going

     2    to hand you two copies, one for your counsel.

     3           A.     Okay.    Sure.

     4           Q.     And, Ms. Woods, could you look at what

     5    I've marked as Exhibit 30, and as you are looking at

     6    it, I'll read into the record its Bates stamps are

     7    Allergan_MDL_02166476 and 477.

     8                  And when you are ready, can you tell me

     9    what this appears to you to be?

    10           A.     Sure.    Let me just read this.

    11           Q.     Yeah.

    12           A.     Okay.    I've read it.

    13           Q.     All right.      What does this appear to you

    14    to be?

    15           A.     So Tracey Hernandez headed up the DEA

    16    compliance team.       This appears to me that she is

    17    stating filings for the DEA suspicious orders should

    18    go through her team.

    19           Q.     Does this seem to be a -- an e-mail chain

    20    among you and other people at Watson Pharma, Inc.?

    21           A.     Correct.

    22           Q.     And the date on the e-mails is January and

    23    February of 2004, is that right?

    24           A.     Yes, that is correct.

   Golkow Litigation Services                                             Page 26
Case:Highly
      1:17-md-02804-DAP Doc #:- 1964-92
              Confidential       SubjectFiled:
                                           to 07/23/19
                                               Further10Confidentiality
                                                         of 19. PageID #: 166595
                                                                             Review

      1          Q.      So about 15 years ago at this point, is

      2    that right?

      3          A.      Yes, correct.

      4          Q.      So for the e-mails that appear on here,

      5    there is a name Tracey Hernandez who we have discussed

      6    a little bit earlier and a woman named Christine

      7    Marino.

      8                  Do you see her name right there?

      9          A.      Yes, I do.

     10          Q.      Who is Christine Marino?

     11          A.      Christine Marino was a supervisor of

     12    customer service and she was also a representative.                 I

     13    don't know which position at this time.

     14          Q.      When you say "representative," what does

     15    that mean?

     16          A.      A customer service representative.

     17          Q.      All right.     And then there is another name

     18    there, Eileen Mesis, M-e-s-i-s?

     19          A.      Correct.     She was a manager of customer

     20    service.

     21          Q.      All right.     And then Judy Callahan.          Who

     22    is Judy Callahan?

     23          A.      Judy Callahan was a -- a manager of

     24    customer service at this time.

   Golkow Litigation Services                                              Page 27
Case:Highly
      1:17-md-02804-DAP Doc #:- 1964-92
              Confidential       SubjectFiled:
                                           to 07/23/19
                                               Further11Confidentiality
                                                         of 19. PageID #: 166596
                                                                             Review

      1          Q.      And in the first e-mail in time on this

      2    exhibit, which is at the bottom of the second page,

      3    it's a Ms. Marino -- or Ms. Hernandez writing to

      4    Ms. Marino and Ms. Callahan:

      5                  "Chris/Judy, Can you please tell me who at

      6    DEA you have on record to send these reports to if you

      7    ever need to?"

      8                  And Ms. Hernandez replies:          "I have not

      9    had to forward suspicious reports.            You may want to

     10    cover this with Mary Woods."

     11                  And then you respond on the first page --

     12          A.      Uh-huh.

     13          Q.      "We have never needed to file a report.

     14    Any time there was a question during the order process

     15    of a suspicious order quantity, we went," and then in

     16    parentheses, "(and still follow the same

     17    procedure)," and then close parentheses, "back to a

     18    customer to let them know we would need to notify the

     19    DEA due to the quantity they wanted to order.               In

     20    response, they either reduced the quantity or

     21    cancelled the order."

     22                  Do you see that there?

     23          A.      Yes, I do.

     24          Q.      And then you -- you go on:

   Golkow Litigation Services                                               Page 28
Case:Highly
      1:17-md-02804-DAP Doc #:- 1964-92
              Confidential       SubjectFiled:
                                           to 07/23/19
                                               Further12Confidentiality
                                                         of 19. PageID #: 166597
                                                                             Review

      1                  "Most all customers understand the issues

      2    and do not want to bring attention to these large

      3    purchases."

      4                  So at this time in January of 2004, do you

      5    remember whether it was an official policy of Watson

      6    Pharma to allow customers to reduce quantities in

      7    order to avoid having to file a -- a DEA suspicious

      8    order report?

      9          A.      I absolutely do not remember from 2004.

     10          Q.      All right.     So with regard to this

     11    response that you give on this e-mail, do you

     12    remember -- as you sit here today, do you remember

     13    writing this e-mail?

     14          A.      Not from 2004.

     15          Q.      Right.    With that understanding, it's

     16    15 years ago.

     17                  Do you have an understanding about whether

     18    it was the case that you and people you worked with

     19    would allow customers to reduce the quantity of orders

     20    that had pended in a system in order to avoid filing a

     21    suspicious order report with the DEA?

     22          A.      Nobody would have ever done it with any

     23    intention to avoid filing a report with the DEA.                If

     24    the customer would have come to us and said, you know,

   Golkow Litigation Services                                              Page 29
Case:Highly
      1:17-md-02804-DAP Doc #:- 1964-92
              Confidential       SubjectFiled:
                                           to 07/23/19
                                               Further13Confidentiality
                                                         of 19. PageID #: 166598
                                                                             Review

      1    reduce the quantity, I don't -- I can't recollect

      2    from, you know, 15 years ago --

      3          Q.      Right.

      4          A.      -- what the policy would have been or the

      5    justification from 15 years ago.

      6          Q.      But in the e-mail you wrote, they either

      7    cancelled the order or reduced the amount --

      8          A.      Yes, I did.

      9          Q.      -- is that right?

     10                  So do you have any reason to believe it

     11    wasn't a regular process to allow customers to reduce

     12    their orders at that time?

     13          A.      I -- I can't respond to what happened

     14    15 years ago.      I'd have to have more information.

     15          Q.      As you sit here today, you don't have any

     16    reason to believe that that wasn't the case, right?

     17          A.      I don't have any be -- reason to believe

     18    it was or wasn't.       I don't know.

     19          Q.      Well, you -- you wrote it at the time,

     20    right, in 2004?

     21          A.      I probably wrote a lot of things at the

     22    time that I probably can't recollect.

     23          Q.      Would you have written something that you

     24    didn't believe was true at the time in 2004?

   Golkow Litigation Services                                              Page 30
Case:Highly
      1:17-md-02804-DAP Doc #:- 1964-92
              Confidential       SubjectFiled:
                                           to 07/23/19
                                               Further14Confidentiality
                                                         of 19. PageID #: 166599
                                                                             Review

      1          A.      I wouldn't write something I didn't

      2    believe was true at that point in time for that

      3    e-mail.

      4          Q.      So you must have believed that that was

      5    actually the case, that customers would have

      6    reduced --

      7          A.      For this incident.

      8          MS. LEVY:     Hang on a second.        Let him finish his

      9    question.

     10    BY MR. EGLER:

     11          Q.      Customers would have been able to reduce

     12    their order in order to avoid a DEA report being

     13    filed, is that right?

     14          A.      I'm reading what's in the e-mail.            That's

     15    the best I can respond to it.

     16          Q.      All right.

     17                  All right.     You can set this document

     18    aside.

     19                       (WHEREUPON, a certain document was

     20                        marked Allergan - Woods Deposition

     21                        Exhibit No. 31, for identification,

     22                        as of 01/10/2019.)

     23    BY MR. EGLER:

     24          Q.      So I'll hand you what we'll mark as

   Golkow Litigation Services                                              Page 31
Case:Highly
      1:17-md-02804-DAP Doc #:- 1964-92
              Confidential       SubjectFiled:
                                           to 07/23/19
                                               Further15Confidentiality
                                                         of 19. PageID #: 166600
                                                                             Review

      1    Exhibit 31.

      2                  Again, there is two -- two copies there.

      3          A.      Sure.

      4          Q.      And can you look through what I've marked

      5    as Exhibit 31?      And as you are looking through it,

      6    I'll read on the record, it's Bates numbered

      7    Allergan_MDL_02187196 through 87199.

      8                  And when you are ready, can you tell me

      9    what this appears to you to be?

     10          A.      Okay.

     11          Q.      All right.     Ms. Woods, what does this

     12    appear to you to be?

     13          A.      This was an e-mail that we were -- that I

     14    sent to Andy Boyer, who is the VP of our sales and

     15    marketing team.

     16          Q.      The e-mail is dated October 4th, 2011, is

     17    this right?

     18          A.      That is correct.

     19          Q.      And at this point you were still working

     20    in Corona, California, is that right?

     21          A.      That is correct.

     22          Q.      And still working for Watson still?

     23          A.      Correct.

     24          Q.      I don't know if we've raised his name

   Golkow Litigation Services                                              Page 32
Case:Highly
      1:17-md-02804-DAP Doc #:- 1964-92
              Confidential       SubjectFiled:
                                           to 07/23/19
                                               Further16Confidentiality
                                                         of 19. PageID #: 166601
                                                                             Review

      1    earlier, but, again, who is Andy Boyer?

      2          A.      I believe at this time he was a vice

      3    president of sales and marketing.            I believe that was

      4    his title.

      5          Q.      All right.     And he was at Watson, is that

      6    right?

      7          A.      Yes, that is correct.

      8          Q.      Below his name is the name

      9    Judith Callahan.

     10                  Do you know who Ms. Callahan is?

     11          A.      Yes.    Judy was the -- she -- I'm not sure

     12    her title at the time, but she worked on my team.

     13          Q.      Okay.    At this time, 2011, late 2011, what

     14    was your team at Watson?

     15          A.      My team at Watson was customer service and

     16    it would have also included order processing and

     17    master data and -- order processing, master data,

     18    licensing.

     19          Q.      Okay.

     20          A.      And I think we would have had a small

     21    group called account management which was a customer

     22    service group that handled orders for, like, contract

     23    manufacturing customers.

     24          Q.      As you think of it, around this time in

   Golkow Litigation Services                                              Page 33
Case:Highly
      1:17-md-02804-DAP Doc #:- 1964-92
              Confidential       SubjectFiled:
                                           to 07/23/19
                                               Further17Confidentiality
                                                         of 19. PageID #: 166602
                                                                             Review

      1    2011, were you responsible for anybody with, as you

      2    had said before, inside sales responsibilities?

      3          A.      No.

      4          Q.      And were you responsible at this time for

      5    anybody with any sales responsibilities as you think

      6    of it?

      7          A.      No.

      8          Q.      So with regard to the people that you

      9    managed and yourself around this time, you didn't

     10    have, as you think of it, any sales responsibilities?

     11          A.      No, I did not.

     12          Q.      And Mr. Boyer, he did have sales

     13    responsibilities, is that right?

     14          A.      The national -- to the best of my

     15    recollection, the national account managers reported

     16    into him or indirectly reported in to him.

     17          Q.      And then Ms. Callahan, did she have sales

     18    responsibilities?

     19          A.      No.

     20          Q.      Oh, and she worked for you, is that

     21    correct?

     22          A.      That's correct.

     23          Q.      All right.     So do you remember -- do you

     24    remember this particular e-mail that I've marked --

   Golkow Litigation Services                                              Page 34
Case:Highly
      1:17-md-02804-DAP Doc #:- 1964-92
              Confidential       SubjectFiled:
                                           to 07/23/19
                                               Further18Confidentiality
                                                         of 19. PageID #: 166603
                                                                             Review

      1          A.      I do.

      2          Q.      -- as Exhibit 31?

      3                  Can you tell me what you remember about

      4    it?

      5          A.      I remember that -- I remember the

      6    communication with our DEA affairs and compliance team

      7    specifically regarding Top Rx.

      8          Q.      Okay.    And what was Top Rx?

      9          A.      To the best of my knowledge, Top Rx was a

     10    distributor.

     11          Q.      All right.     So do you remember ever

     12    meeting anyone from Top Rx in the course of your work?

     13          A.      I do not personally remember meeting

     14    somebody in person from Top Rx.

     15          Q.      Do you remember whether there was ever a

     16    meeting with anyone from Top Rx at the Corona site at

     17    Watson at any time?

     18          A.      At our Corona site?

     19          Q.      Yes.

     20          A.      I -- I couldn't remember that.

     21          Q.      All right.     Do you remember -- all right.

     22                  So in the e-mail that appears earlier in

     23    time, at the bottom of this first page of Exhibit 31,

     24    there is a name Lisa Scott.

   Golkow Litigation Services                                              Page 35
Case:Highly
      1:17-md-02804-DAP Doc #:- 1964-92
              Confidential       SubjectFiled:
                                           to 07/23/19
                                               Further19Confidentiality
                                                         of 19. PageID #: 166604
                                                                             Review

      1                  Do you see that there?

      2          A.      Yes, I do.

      3          Q.      And who is Lisa Scott?

      4          A.      She worked on Tom Napoli's team as a

      5    security and compliance auditor.

      6          Q.      All right.     And so the Tom Napoli's team,

      7    is that the controlled substance compliance team that

      8    we were talking about before?

      9          A.      Yes, you are correct.

     10          Q.      So, going back up to the top of the page,

     11    you write to Mr. Boyer:

     12                  "Andy, I need to meet with you, and most

     13    likely, Allan and Tony at the same time, to discuss

     14    the results of the Top Rx investigation."

     15          A.      Uh-huh.

     16          Q.      "We can make some decisions during this

     17    call."

     18          A.      Um-hum.

     19          Q.      Who are Tony and Allan that you refer to

     20    in this?

     21          A.      Allan was the head of national sales and

     22    Tony was the representative that handled Top Rx to the

     23    best of my recollection.

     24          Q.      Do you remember their last names?

   Golkow Litigation Services                                              Page 36
